                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


ARMAD ARSHI, et al.                           )
                                              ) NO. 3-11-1087
                                              ) LEAD CASE
v.                                            ) MEMBER CASES:
                                              ) NOS. 3-11-1069 and 3-11-1223
                                              ) JUDGE CAMPBELL
JOHN A. STADLER, et al,                       )



                                             ORDER


       The last activity in this consolidated action was on July 19, 2013. The parties shall file, by

February 27, 2015, a Status Report indicating the status of these case and stating why they should

not be dismissed for failure to prosecute.

       IT IS SO ORDERED.


                                                     ___________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




     Case 3:11-cv-01087 Document 30 Filed 02/11/15 Page 1 of 1 PageID #: 224
